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l 95\9 Case 2:04-cV-0214O-.]DB-tmp Document 49 Filed 08/16/05 Page 1 of 4 Page|D 44

F l L E D BV
UNITED STATES DISTRICT COURT AUG 1 2
FOR THE WESTERN DISTRICT OF TENNESSEE 2005
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U~ S. Dlotrlct Coun

W- U. OF

CECIL JOHNSON, JR.,

 

 

 

 

Plaintiff, Civil Action No.
04_2140 BP
V.
MO ON BA/NTED
CAI)ILLAC oF MEMPHIS, ET AL., l' - °‘
D f d t _ J.DAN¢EL anEEN \
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MOTION TO QUASH SUBPOENA

   

 

The Equal Employment Opportunity Commission (EEOC) files this Motion To y
Subpoena served on Dwight Johnson, its lnvesti gator in the Memphis District Office.
Motion to Quash is based on the following grounds:

l. The subpoena is defective because it fails to name the court from Which it is issued and

fails to state a command as required by Fed. R.. Civ. P. 45(a)(l).

2. The subpoena is defective because plaintiff failed to tender a Witness fee as required by

Fed. R. Civ. P. 45(b)(l).

3. The subpoena is defective because it fails to allow a reasonable time for compliance, Fed,

R. Civ. P. 45(c)(3)(A)(i).

4. The subpoena subjects the EEOC to an undue burden
5. l\/lr. Johnson’s testimony is irrelevant as held by Judge Pham When he denied plaintiff s
request for a subpoena for Mr. Jobnson.

A Memorandum ln Support of this Motion is incorporated by reference into this

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document

Respectfully submitted,

ERIC S. DREIBAND
General Counsel

JAMES L. LEE
DEPUTY GENERAL COUNSEL

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TERRY`~BECK
Supervisory Trial Attorney
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EQUAL EMPLOYMENT OPP ORTUNITY
COMMISSION

Mernphis District Office

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Memphis, TN 3 8104

(901)544-0138

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CERT|F|CATE OF SERV|CE

l certify that a copy of the foregoing Was delivered via facsimile to the following:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CV-02140 Was distributed by faX, mail, or direct printing on
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Honorable .l. Breen
US DISTRICT COURT

